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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:

Advanced Power Technologies, LLC,                            Case No. 20-13304-PGH

      Debtor.                                                Chapter 11
________________________________/

               EMERGENCY MOTION TO VOLUNTARILY DISMISS CASE
                    AND SHORTEN HEARING NOTICE PERIOD

              ** Emergency Hearing Requested Pursuant to Local Rule 9075-1 **
                                    Basis for Emergency Relief
                The Debtor is a limited liability company that would qualify for
                a substantial forgivable loan (approximately $1.8 million)
                pursuant to the second phase of the Coronavirus Aid, Relief, and
                Economic Security (CARES) Act, P.L. 116-136, expected to be
                signed into law as early as Thursday, April 22, 2020. The Debtor
                believes it is in the best interest of the estate to pursue such loan
                in order to fund payroll expenses. However, in order to receive
                such forgivable loan, the Debtor must, under the CARES Act,
                certify that it is not a debtor in bankruptcy. Therefore, the
                Debtor wishes to voluntarily dismiss this case on or before
                Friday, April 24, 2020. Accordingly, the Debtor requests that
                the Court schedule this motion for hearing on an emergency
                basis on or before Friday, April 24, 2020.

         Debtor in Possession, Advanced Power Technologies, LLC (the “Debtor”), by and through

its undersigned counsel and pursuant to 11 U.S.C. § 1112(b) and Federal Rule of Bankruptcy

Procedure 9006(c)(1), requests that the Court dismiss the above-captioned bankruptcy case on an

emergency basis before the twenty-one day notice period has elapsed. In support, the Debtor

respectfully states as follows:

                                         BACKGROUND

         1.     On March 11, 2020, the Debtor filed a voluntary petition for relief under chapter

11 of the Bankruptcy Code (the "Petition Date"). The Debtor is operating its business and



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managing its affairs as a debtor in possession. No trustee, examiner, or statutory committee has

been appointed.

       2.      The Debtor is a Florida limited liability company with its corporate office located

in Pompano Beach, Florida. The Debtor provides consumers with complete solutions for lighting,

signage, and electrical service.

       3.      On March 27, 2020, President Trump signed into law the Coronavirus Aid, Relief,

and Economic Security (CARES) Act, P.L. 116-136 to provide economic relief in the midst of the

Coronavirus pandemic. Among many other things, the CARES Act provides for the provision of

forgivable loans to small and mid-sized businesses in order to permit those businesses to continue

to pay employees.

       4.      The first phase of funding associated with the CARES Act dried up immediately.

To provide further relief, on Tuesday, April 21, 2020, the U.S. Senate passed a $484 billion deal

to replenish the small-business loan program under the CARES Act.             The U.S. House of

Representatives is expected to approve the new funding on Thursday, April 23, 2020. President

Trump has already stated that he would sign the new deal into law.

       5.      However, Title IV, Section 4003(c)(3)(D)(V) of the CARES Act mandates that any

business receiving such forgivable loans certify that “the recipient is not a debtor in a bankruptcy

proceeding[.]” The application form for such forgivable loans also contains a place for applicants

to make a similar certification.

       6.      Having reviewed the applicable provisions of the CARES Act, the Debtor believes

that, other than being in bankruptcy, it otherwise meets the qualifications to receive a forgivable

loan under that law, and therefore wishes to apply for and receive a forgivable CARES Act loan

in the amount of $1.8 million to pay for payroll expenses.




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        7.      Based on the posture of this case, dismissal of this chapter 11 case in order to permit

the Debtor to access significant forgivable credit under the CARES Act will be in the best interest

of the estate and will not unfairly prejudice other parties in interest.

        8.      Therefore, through this motion, the Debtor seeks the immediate dismissal of this

chapter 11 case.

                               BASIS FOR RELIEF REQUESTED

        9.      The Bankruptcy Code permits a party in interest, such as the Debtor in this case, to

seek dismissal of a bankruptcy case for cause, provided it is in the best interest of creditors, 11

U.S.C. § 1112(b). The Debtor submits that, under these very peculiar circumstances, it is in the

best interests of creditors to permit the Debtor to voluntarily dismiss this case in order to access a

forgivable CARE Act loan to pay its employees.

        10.     Pursuant to Federal Rule of Bankruptcy Procedure 2002(a)(4), the Court generally

may not hold a hearing on a motion to dismiss a chapter 11 case on less than twenty-one days’

notice. However, under Rule 9006(c)(1), the Court may shorten such required notice for cause.

The Debtor submits that cause exists in this case to shorten the required notice period so that the

Court may hear this motion as soon as possible so that the Debtor may quickly apply for and access

a forgivable CARES Act loan pursuant to this second phase of funding. Specifically, the funding

pool for CARES Act forgivable business loans is finite, and the Debtor is very concerned that any

delay in applying for a CARES Act forgivable loan could cause such loan to be denied or reduced

due to inadequate funding.



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       WHEREFORE, the Debtor respectfully requests the Court hold an emergency hearing on

this motion and thereafter enter an order dismissing this chapter 11 case, and grant and further

relief as the Court deems just and equitable.

                                       Respectfully Submitted,

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                                       By: /s/ Bradley S. Shraiberg
                                              Bradley S. Shraiberg
                                              Florida Bar No. 121622
                                              Joshua B. Lanphear
                                              Florida Bar No. 125421

                                ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

Notice of Electronic Filing to those parties registered to receive electronic notices in this case on

this the 22nd day of April, 2020.


                                             By: /s/ Bradley S. Shraiberg
                                                     Bradley S. Shraiberg Esq.




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